        Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 1 of 19




                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

__________________________________________
HUNTER HARRIS and                          )
CORA CLUETT,                               )
Plaintiffs                                 )
                                           )
v.                                         )       CIVIL ACTION NO.
                                           )
UNIVERSITY OF MASSACHUSETTS                )
LOWELL, JACQUELINE MOLONEY,                )
UNIVERSITY OF MASSACHUSETTS                )
BOSTON, MARCELO SUÁREZ-                    )
OROZCO and SHAWN DE VEAU                   )
Defendants                                 )


VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


                                    PARTIES

   1. Plaintiff, Hunter Harris, lives in Medway, Massachusetts and is a student at

      the University of Massachusetts in Lowell.

   2. Plaintiff, Cora Cluett, lives in Quincy, Massachusetts and is a student at the

      University of Massachusetts in Boston.

   3. Defendant, University of Massachusetts Lowell (“Lowell”), is a public

      university within the University of Massachusetts system located in Lowell,

      Massachusetts.

   4. Defendant, Jacqueline Moloney, is the Chancellor of University of

      Massachusetts, Lowell.

   5. Defendant, University of Massachusetts Boston (“Boston”), is a public

      university within the University of Massachusetts system located in Boston,

                                         1
            Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 2 of 19




          Massachusetts.

      6. Defendant, Marcelo Suárez-Orozco, is the Chancellor of the University of

          Massachusetts, Boston.

      7. Defendant, Shawn De Veau, is the Interim Vice Chancellor for Student Affairs

          for the University of Massachusetts, Boston.

                        JURISDICTION, VENUE AND STANDING

      8. Plaintiffs bring this action under 28 U.S.C. § 2201 and § 2202.

      9. Plaintiffs’ claims, surrounding defendants’ vaccination policies, assert

          violations of federal and state law and the United States Constitution.


                                  UMASS LOWELL POLICY

      10. On April 28, 2021, defendants Lowell and Moloney issued a statement

          through UMass Lowell’s Provost and Vice Chancellor for Academic and

          Student Affairs, that UMass Lowell would require all of its students to be

          fully vaccinated against COVID-19 in order to “live, learn or visit any UMass

          Lowell campus or property1.”

      11. The policy stated that defendant Lowell would “accommodate medical,

          disability and religious exemptions consistent with state and federal laws,”

          similar to their other vaccination requirements.

      12. Faculty and Staff are not required to be vaccinated against COVID-19. Id.




1   https://www.uml.edu/alert/coronavirus/4-27-21-student-vaccine-requirement.aspx

                                                  2
           Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 3 of 19




      13. Defendant Moloney implemented and continues to implement this policy for

         newly admitted and current students of the University of Massachusetts,

         Lowell.


                                  UMASS BOSTON POLICY


      14. On April 26, 2021, defendants Boston and Suárez-Orozco, through Marie

         Bowen, Vice Chancellor for Human Resources, Gail DiSabatino, Vice

         Chancellor for Student Affairs and Robert Pomales, Executive Director of

         University Health Services, issued a statement that UMass Boston “will

         require vaccinations for all UMass Boston students who are coming to

         campus, or physically accessing campus resources for the fall semester, and

         wish to live, learn and/or conduct research on campus…2”

      15. Similar to defendant Lowell, Boston’s policy was subject to medical, disability

         and religious exemptions.

      16. Similar to defendant Lowell, Boston’s faculty was not required to be

         vaccinated.

      17. Defendant Suárez-Orozco implemented and continues to implement this

         policy for newly admitted and current students of the University of

         Massachusetts, Boston.




2   https://www.umb.edu/news/detail/an_update_on_vaccinations_for_the_umass_boston_community

                                               3
     Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 4 of 19




                     FEDERAL AND STATE GUIDANCE


18. To date, the federal government has not, nor has any state, mandated

   COVID-19 vaccination for its citizens.

19. The Department of Public Health has not mandated COVID-19 vaccination

   as a requirement for schooling within the Commonwealth of Massachusetts.

20. Currently, three vaccines are authorized by the Food and Drug

   Administration for emergency use only.

21. Under the Emergency Use Authorization statute, 21 U.S.C. § 360bbb-3, any

   drug authorized for emergency use by the Secretary of Health and Human

   Services must be administered only after recipients provide their voluntary

   and informed consent.

22. The HHS Secretary is to ensure:

(ii) Appropriate conditions designed to ensure that individuals to whom the
product is administered are informed--

(I) that the Secretary has authorized the emergency use of the product;

(II) of the significant known and potential benefits and risks of such use, and of
the extent to which such benefits and risks are unknown; and
(III) of the option to accept or refuse administration of the product, of the
consequences, if any, of refusing administration of the product, and of the
alternatives to the product that are available and of their benefits and risks.

23. On March 27, 2020, Amanda Cohn, the Executive Secretary of CDC Advisory

   Committee on Immunization Practices (CDC-ACIP) specifically stated: "I just

   wanted to add that, just wanted to remind everybody, that under an

   Emergency Use Authorization, an EUA, vaccines are not allowed to be



                                       4
         Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 5 of 19




       mandatory. So, early in this vaccination phase, individuals will have to be

       consented and they won’t be able to be mandated.”3

    24. Defendant Lowell agreed with this interpretation, as it posted that “no one

       can be required to take a vaccine under an EUA” on its own website,

       available in April 2021, just prior to enacting its mandate:




    25. The statute therefore precludes mandating of a drug that is authorized for

       emergency use, as it deals specifically with health and medical consequences,

       and cannot be interpreted as dealing with sanctions and loss of privileges

       from school for lack of consent.



3https://www.thedesertreview.com/health/experimental-covid-shots-cannot-be-
mandated/article_89b901ae-8126-11eb-a78d-07c0c7e926df.html

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         Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 6 of 19




    26. As a reference in federal employment context, “The Safer Federal Workforce

       Task Force,” was created and is led by the White House COVID-19 response

       team, General Services Administration (GSA), Office of Personnel

       Management (OPM), and includes members from the Centers for Disease

       Control and Prevention (CDC), Department of Veteran’s Affairs (VA), Federal

       Emergency Management Agency (FEMA), Office of Management and Budget

       (OMB) and the United States Secret Service (USSS).

    27. The Safer Federal Workforce specifically stated, prior to July 30, 2021, that

       the vaccine should not be mandated for federal employees4:




4This specific Q & A has since been removed from the page and has not been replaced with
affirmative guidance with respect to mandating vaccines:
https://www.saferfederalworkforce.gov/faq/vaccinations/

                                                6
         Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 7 of 19




    28. The EEO defers federal employers to the Safer Federal Workforce Task force

       and seems to suggest that a private employer could potentially mandate the

       vaccine5, stating only that the EEO laws in and of themselves do not prevent

       employers from doing so.

    29. The CDC encourages individuals who are not vaccinated to get vaccinated6

       but clearly states that the federal government does not mandate the vaccine.




    30. The clearest guidance comes directly from the White House, in which President

       Biden has invited “colleges and universities across the country to join us in our

       efforts to end the pandemic by signing up for the COVID-19 College Vaccine

       Challenge.”

    31. The defendants are part of this challenge.7

    32. The College Vaccine Challenge involves a commitment to colleges and

       universities to take three key actions to get their respective campuses fully

       vaccinated. The three key actions are: engaging every student, faculty and staff




5 https://www.eeoc.gov/wysk/what-you-should-know-about-covid-19-and-ada-rehabilitation-act-and-
other-eeo-laws specifically “The federal EEO laws do not prevent an employer from requiring all
employees physically entering the workplace be vaccinated for COVID-19…”
6
  https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html
7 https://www.whitehouse.gov/COVIDCollegeChallenge/


                                               7
         Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 8 of 19




       member; organizing their college communities; and delivering vaccine access

       for all.

    33. The challenge in no way encourages a vaccine mandate for students, but

       instead is geared toward creating programs to encourage the student body,

       faculty and staff to obtain the vaccine.

    34. President Biden, as recently as July 29, 2021, issued a statement that all

       federal civilian workers must get vaccinated or face regular testing, resulting

       in a policy that in no way mandates the vaccine, and still offers unvaccinated

       individuals an option to remain unvaccinated8.

    35. The Commonwealth of Massachusetts mandates only that college students be

       immunized against Diptheria, Pertussis and Tetanus (“Tdap” vaccine),

       Measles, Mumps and Rubella (“MMR vaccine”), Varicella and

       Meningococcus9.

    36. No Board of Health, under G. L. c. 111 § 181, has required and/or forced

       vaccinations of the COVID-19 vaccine on their city/town.

    37. The Governor of Massachusetts is opposed to mandating the COVID-19

       vaccine for public employees10.

    38. Defendants’ employees are not mandated to be vaccinated against COVID-19.




8 https://www.reuters.com/world/us/biden-ask-federal-workers-thursday-get-vaccinated-or-face-
testing-source-2021-07-29/
9 https://www.mass.gov/doc/immunization-requirements-for-school-entry-0/download
10 https://www.boston.com/news/politics/2021/05/04/massachusetts-vaccine-mandate-public-

employees/ quoting Governor Baker: “The idea that I would kick somebody out of a job — especially
in a kind of economy we have now — because, quote unquote, they wouldn’t get vaccinated right
away on an [Emergency Use Authorization]-approved vaccine… No, I’m not gonna play that game.”

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     Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 9 of 19




                               COUNT I
                (14th Amendment Procedural Due Process)

39. Plaintiffs repeat and reallege paragraphs 1-38 of this Complaint.

40. Plaintiffs have a liberty interest in continuing their education at their

   respective universities. See Goss v. Lopez, 419 S.Ct. 565 (1975).

41. Plaintiffs are both returning students at their respective campuses, having

   been attending their respective schools for at least a full year prior to the start

   of the Fall 2021 semester (plaintiff Harris is an incoming Junior and plaintiff

   Cluett is an incoming Senior).

42. By failing to obtain a vaccine, students face expulsion from their university.

43. Defendant Boston has denied plaintiff Cluett a properly asserted religious

   exemption.

44. Plaintiff Harris is not eligible for a religious exemption, nor a medical

   exemption, and has not been afforded the option of paying a nominal penalty,

   such as is outlined in G. L. c. 111 § 181 and in Jacobson v. Massachusetts, 197

   U.S. 11 (1905).

45. Plaintiff Cluett plays on defendant Boston’s NCAA track team and is a

   recipient of the Chancellor’s Merit Scholarship ($10,000 per year) and cannot

   practically transfer schools.

46. Additionally, all four-year public colleges and universities in Massachusetts




                                        9
         Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 10 of 19




        now mandate the COVID-19 vaccine11.

     47. Thus, plaintiffs are prevented from attending any other public college or

        university within the state without facing the same vaccination requirement.


                                  COUNT II
                    (14th Amendment Substantive Due Process)

     48. Plaintiffs repeat and reallege paragraphs 1-47 of this Complaint.

     49. Plaintiffs have an individual, fundamental right to refuse medical treatment.

        Washington v. Harper, 494 U.S. 210 (1990). See also Cruzan v. Director of

        Mississippi Department of Public Health, 497 U.S. 261 (1990).

     50. While there is significant precedent with respect to states mandating

        vaccinations in public health emergencies, primarily Jacobson, supra, not

        only has the Commonwealth not mandated the vaccine for students, but

        neither the Governor of Massachusetts, nor any local Board of Health has

        mandated the vaccines.

     51. Jacobson does not apply to defendants’ policies for the following reasons:

           a. The defendant has no statutory authority to order the vaccination of its

               students, and all immunization requirements are based upon the

               mandates of the Massachusetts Department of Public Health;

           b. Neither the Governor, nor any local Board of Health, have mandated

               the COVID-19 vaccines;

           c. The Supreme Court in Jacobson made its determination based


11https://www.wcvb.com/article/massachusetts-state-universities-mandate-covid-19-
vaccine/36257924

                                               10
            Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 11 of 19




                  significantly on the settled medical science regarding the smallpox

                  vaccinations from “nearly a century” of its use, and in the instant case,

                  we are dealing with three drugs that have been in existence less than

                  one year and are not approved by the Food and Drug Administration;

              d. At issue in Jacobson was the statute allowing the Board of Health to

                  mandate vaccinations of its citizens. It did not give an individual

                  university the authority to vaccinate its students; and

      52. Strict scrutiny therefore applies to defendants’ policy, requiring that their

          restrictions of plaintiffs’ fundamental right must be narrowly tailored to

          serve a compelling state interest.

      53. Restricting plaintiffs’ fundamental right to refuse medical treatment in this

          instance was not narrowly tailored, nor does it serve a compelling interest.

      54. The COVID-19 vaccines, in their short existence, have resulted in 11,940

          vaccine-related deaths (https://www.openvaers.com/covid-data).

      55. Among the ages of 12-24, which make up 8.8% of vaccines administered, we

          see a whopping 52.5% of all reported myocarditis and pericarditis cases12.

      56. As of February, 2021, the total amount of COVID-19 deaths of those under

          forty-four years old was 11,421, while those under twenty-five totaled only

          3,710, with 16 total COVID-19 deaths in Massachusetts for individuals under

          35 years old13.

      57. From 2020-2021, defendant Lowell has conducted 60,843 COVID-19 tests, of


12   https://www.fda.gov/media/150054/download#page=17
13   https://www.heritage.org/data-visualizations/public-health/covid-19-deaths-by-age/

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         Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 12 of 19




        which 245 were positive, a rate of 0.40%14.

     58. From August of 2020-2021, defendant Boston has conducted 20,742 COVID-

        19 tests, of which 149 were positive, a rate of 0.7%.

     59. Since 2020, the defendant Boston has received $71,473,430 in state and

        federal COVID-19 related relief funds, including American Rescue Plan,

        CRRSAA, CARES Act, GEER and FEMA.

     60. As part of the same programs, defendant Lowell has received over

        $52,000,000 in federal and state COVID-19 related relief funds15.

     61. Many of these funds received have vague guidelines with respect to use of the

        funds, such as training, public health centers, staffing and reimbursement of

        lost revenue16.

     62. Defendants, along with administering testing and vaccines on its campus,

        report COVID-19 data to the CDC, including specific demographic data17.

     63. Defendants also mandate certain prevention measures for those with

        exemptions to their mandate, including mask wearing, temperature checks

        and self-reporting.

     64. These methods of prevention are purportedly effective in preventing the

        spread of COVID-19.

     65. Defendants’ policies, in light of the publicly available data, additional

        effective measures, fails to establish a rational relationship to a legitimate


14 https://www.uml.edu/alert/coronavirus/returning/testing.aspx
15
   https://www.covidmoneytracker.org
16
   https://crsreports.congress.gov/product/pdf/IN/IN11556
17
   https://www.cdc.gov/coronavirus/2019-ncov/lab/reporting-lab-data.html

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    Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 13 of 19




   interest (preventing the spread of COVID-19).

                                 COUNT III
                (Denial of Religious Exemption as to Cluett)

66. Plaintiffs repeat and reallege paragraphs 1-65 of this Complaint.

67. Plaintiff Cluett has a sincerely held religious belief that precludes her from

   taking the mandated vaccine.

68. Defendants Boston and Suárez-Orozco offer to UMass Boston students a

   religious exemption to its vaccine requirement as part of school policy.

69. Plaintiff Cluett, in accordance with G.L. c. 76 § 15 and 105 C.M.R. 220.500, is

   entitled to be exempt from the vaccine mandate, if she states, “in writing that

   vaccination or immunization conflicts with [her] sincere religious beliefs.”

70. Plaintiff Cluett, on May 18, 2021, submitted a religious exemption to

   defendant Boston, using the school’s form, that the COVID-19 vaccine

   conflicted with her sincerely held religious belief.

71. On June 17th, defendant Boston (through a University Health Services

   message on the Beacon Health Portal) updated their requirements for

   obtaining a religious exemption, which prompted Cluett to send her first

   written religious exemption statement on June 23rd, 2021. She received an

   email later that same day stating that a committee would be convened to

   review her request.

72. On July 15, 2021, defendant Boston, through University Health Services,

   send a notification to Cluett that her religious exemption was not approved,

   directing her to send any appeals to defendant De Veau.


                                       13
    Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 14 of 19




73. Cluett sent in a letter appealing her religious exemption on July 23, 2021.

74. On July 26, 2021, defendant Boston, through its interim Vice Chancellor

   Shawn De Veau, denied plaintiff Cluett’s appeal on the basis that 1) Mr.

   DeVeau, acting on behalf of defendant Boston, deemed Cluett to be Roman

   Catholic, and 2) that, based on De Veau’s research, the vaccine would not

   violate the tenets of the Catholic faith.

75. Defendant Suárez-Orozco was included in this electronic mail

   communication, was aware of the denial and did not prevent De Veau from

   denying Cluett’s valid religious exemption.

76. In 1971, the Supreme Judicial Court found that basing religious exemption

   on those who subscribed to “tenets and practices of a recognized church or

   religious denomination was violative of First and Fourteenth Amendments of

   the United States Constitution and state constitutional provisions in

   extending preferred treatment to adherents and members of recognized

   church or religious denominations while denying exemption to others

   objecting to vaccination on religious grounds.” Dalli v. Board of Education,

   358 Mass. 753 (1971).

77. Defendants Boston, De Veau and Suárez-Orozco’s denial of plaintiff Cluett’s

   religious exemption is therefore violative of state law, along with her First

   and Fourteenth Amendment Rights under the United States Constitution,

   and her rights under Articles I and II of the Massachusetts Constitution.

78. Under the First Amendment of the United States Constitution, and in



                                       14
    Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 15 of 19




   accordance with 42 U.S.C. § 2000bb-1, defendants cannot burden Cluett’s free

   exercise of her religion by forcing her to take a vaccine that she is forbidden

   from taking based on her religious beliefs or penalize her for not taking the

   vaccine.


                                   COUNT IV
                         (Violations of 42 U.S.C. §1983)

79. Plaintiffs repeat and reallege paragraphs 1-78 of this Complaint.

80. Defendants, enacting their vaccine mandate, were and are acting under the

   color of law. “The traditional definition of acting under color of state law

   requires that the defendant in a § 1983 action have exercised power

   “possessed by virtue of state law and made possible only because the

   wrongdoer is clothed with the authority of state law.” West v. Atkins, 487 U.S.

   42 (1988).

81. The deprivation of plaintiffs’ liberty interest, outlined in Count I, above,

   constitutes a violation of § 1983.

82. The deprivation of plaintiffs’ fundamental right to refuse medical treatment,

   outlined in Count II, above, constitutes a violation of § 1983.

   The deprivation of plaintiff Cluett’s First Amendment and G.L. c. 76 § 15

   rights outlined in Counts III and IV, above constitute violations of § 1983.


                             PRAYER FOR RELIEF


83. WHEREFORE, plaintiffs request:




                                        15
    Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 16 of 19




84. Declaration that defendants’ vaccination mandates are

   unconstitutional on its face;

85. Declaration that defendants’ mandates are unconstitutional as applied

   to each respective plaintiff;

86. Enjoin defendants from enforcing their mandate;

87. Attorney fees and costs, plus any other relief this Court deems proper.




                                           Plaintiffs, by their attorney,

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                                      16
Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 17 of 19
Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 18 of 19
Case 1:21-cv-11244-DJC Document 1 Filed 07/30/21 Page 19 of 19
